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                    Exhibit 1
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                       SETTLEMENT AND RELEASE AGREEMENT

        This Settlement and Release Agreement (the “Agreement”) is made and entered into by
and between Arnulfo Trujillo and Ramon Rafael Beltran on behalf of themselves, their agents,
assigns, attorneys, heirs, successors, executors and administrators (hereinafter collectively referred
to as, the “Plaintiffs”), on the one hand, and EM Windsor Construction Inc., SEM Construction
Inc., Elvis Muriq, and Vjollca Gjeka (collectively referred to as, the “Defendants”), on the other
hand. Plaintiffs and Defendants hereinafter referred to as the “Parties.”

        WHEREAS, on or about January 7, 2021, Plaintiffs filed a Complaint alleging, among
other things, that Defendants violated the Fair Labor Standards Act (“FLSA”) and the New York
Labor Law (“NYLL”) by failing to pay Plaintiffs overtime wages, failing to provide accurate
NYLL 195(1) wage notice forms, and failing to provide accurate NYLL 195(3) wage statements
under the caption Trujillo et al. v. SEM Construction, Inc. et al., 1:21-cv-00124 (KPF) (the
“Complaint” or the “Action”);

       WHEREAS, Defendants deny all allegations of wrongdoing made by Plaintiffs and the
Court has not made any findings with respect to the merits of Plaintiffs’ claims;

         WHEREAS, the Parties have determined it to be in their mutual interests to settle and
terminate the Action, without incurring the further burden, risk, and expense of continued
litigation, subject to the terms and conditions set forth herein;

        WHEREAS, the Parties desire to have no further obligations to each other, except as
specifically provided herein; and

        NOW, THEREFORE, for good and valuable consideration, the sufficiency of which is
acknowledged hereby, and in consideration of the mutual covenants and undertakings set forth
herein, the Parties agree as follows:

       1.      Consideration. In exchange for and in consideration of the covenants and
promises contained herein, including Plaintiffs’ release of claims as set forth in Paragraph 3 below,
and in full and final settlement of all of Plaintiffs’ claims against Defendants in the Action,
Defendants will provide Plaintiffs with a total payment of Fifty-Eight Thousand and Zero Cents
($58,000.00) (the “Settlement Payment”) as follows:

              (a)    Within fifteen (15) days of (a) the District Court issuing an Order approving
the parties’ Agreement and dismissing this matter with prejudice, and (b) the receipt, by
Defendants’ Counsel, of a fully completed and executed IRS Form W-4 from each Plaintiff, a fully
completed and executed IRS Form W-9 from each Plaintiff, and a fully completed and executed
IRS Form W-9 from TakeRoot Justice, Defendants shall make payments to Plaintiffs and their
counsel (TakeRoot Justice), pursuant to the payment plan attached hereto in Exhibit A, totaling
Twenty-Five Thousand Dollars and Zero Cents ($25,000.00) (the “Initial Payment”).

             (b)    Commencing on the last day of the third full month after the Initial Payment,
Defendants shall make six (6) additional payments every three months (“Quarterly Installment
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 Payments”) to Plaintiffs and their counsel (TakeRoot Justice), on the last day of each such month,
 in the total amount of Five Thousand Five Hundred and Zero Cents ($5,500.00) (“Monthly
 Installment Payment”). The six (6) Quarterly Installment Payments shall total Thirty-Three
 Thousand Dollars and Zero Cents ($33,000.00). These Quarterly Installment Payments to
 Plaintiffs and their counsel (TakeRoot Justice) shall be apportioned as set forth in Exhibit A.

               (c)      As set forth in Exhibit A, the Initial Payment and each Quarterly Installment
 Payment to Plaintiffs shall be allocated for tax purposes as follows:

                       i.       Twenty-five percent (25%) of Plaintiffs’ portion of each payment
                                shall represent payment of alleged unpaid wages claimed by the
                                respective Plaintiff. Defendants will report this amount as wages
                                earned on an IRS Form W-2, from which all applicable taxes,
                                withholdings and authorized deductions shall be made.
                      ii.       Seventy-five percent (75%) of Plaintiffs’ portion of each payment
                                shall represent alleged liquidated damages, statutory penalties and
                                interest due and owing under the FLSA and NYLL. Consequently,
                                the Parties agree that Defendants shall report such amount as income
                                to the respective Plaintiff on an IRS Form 1099 with box #3
                                checked.
                 (d)    All payments made to TakeRoot Justice as set forth in Exhibit A shall
 represent attorneys’ fees and disbursements, to be reflected on an IRS Form 1099.

                  (e)    Of the combined payments set forth in paragraphs (a) and (b) of this section,
 Plaintiffs shall receive a total of Forty-Eight Thousand Six Hundred and Ninety-Five Dollars and
 Sixty Three Cents ($48,695.63) and TakeRoot Justice shall receive a combined total of Eight
 Thousand Nine Hundred and Two Dollars and Thirty Seven Cents ($8,902.37) in attorneys’ fees
 and Four Hundred and Two Dollars and Zero Cents ($402.00) in expenses. All payments under
 this Paragraph shall be delivered to TakeRoot Justice, attn.: Farrell A. Brody, 123 William Street,
 16th Floor, New York, NY 10038.

                (f)    Pursuant to Paragraph 5 below, upon execution of this Agreement, the
 Parties agree to execute the “Stipulation and Order of Dismissal with Prejudice,” in the form
 annexed hereto as Exhibit B, which will be filed with the Court along with the Joint Motion for
 Approval of the Agreement.

                (g)      In the event Defendants’ Quarterly Installment Payments, as required under
Paragraph 1 of this Agreement, are not received within ten (10) days of the due date, Plaintiffs’
counsel shall provide written notice to Defendants’ Counsel, Michael Taubenfeld, Esq., by email at
michael@fishertaubenfeld.com regarding any missed Quarterly Installment Payments. Defendants
shall have five (5) business days from receipt of such written notice to remedy their default. Notice
shall be deemed received by Defendants on the date written notice is emailed or mailed to
Defendants’ Counsel. Should Defendants fail to timely remedy their default, the provisions set forth
below in Paragraph 22 shall apply.




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        2.     Full Payment for FLSA claims. Plaintiffs agree and affirm that the payments
described in Paragraph 1 above shall constitute the entire amount of monetary consideration
provided to Plaintiffs and Plaintiffs’ legal counsel for their wage and hour claims. This amount
shall include compensation for alleged damages to Plaintiffs and for any and all harm which they
may have suffered because of any acts or omissions of the Defendants as alleged in the Action or
relating in any way to their relationship with Defendants, including any claims for wages,
minimum wage, or overtime pay under state and federal law or common law. Plaintiffs agree that
these payments are inclusive of any claim for attorney’s fees, costs, interest and/or other expenses.

        3.     Release of Claims. In exchange for and in consideration of the covenants and
promises contained herein, Plaintiffs, individually and on behalf of themselves and, if any, their
spouse(s), domestic partner(s), children, agents, assignees, heirs, executors, beneficiaries, legal
representatives and assigns, hereby waives, discharges and releases, the Defendants and their
current and former parents, subsidiaries, divisions, branches, assigns and affiliated and related
entities and its or their respective predecessors, successors, employee benefit plans, and present
and former directors, officers, partners, investors, shareholders, fiduciaries, insurers, owners,
employees, representatives, agents and attorneys, in their individual and representative capacities,
and their immediate family, heirs, beneficiaries, assigns, and present and/or former fiduciaries,
representatives, agents and attorneys (collectively, the “Defendant Releasees”) from any and all
actions, causes of action, obligations, liabilities, claims and demands which were asserted, or
which could have been asserted, in the Action, under the Fair Labor Standards Act, the New York
State Labor Law and/or any federal, state or local wage statute, code, or ordinance, which are
related to any alleged unpaid or underpaid wages or overtime, or other unpaid or underpaid wages
or compensation (including any claims for breach of contract seeking lost or unpaid wages),
including reimbursement for expenses, and any related penalties, interest, costs, attorneys’ fees,
compensatory damages, punitive damages, and liquidated damages, whether known or unknown,
contingent or otherwise, and whether specifically mentioned in this Agreement or not, regardless
of when they accrued until the date Plaintiffs sign this Agreement.

        This release of wage and hour claims includes, but is not limited to, all claims for unpaid
minimum wage, overtime, commissions, whether based on common law or otherwise, and all
claims for improper deductions, travel time, spread of hours pay, bonuses, expenses,
reimbursements, gratuities, tip credits, tip allowances, service charges and retained gratuities
during Plaintiffs’ employment with Defendants and any other compensation or wages, liquidated
damages, compensatory damages, punitive damages, penalties, attorneys’ fees, interests and/or
costs related to the claims filed in this Action. Plaintiffs agree that they hereby waive any right
that they may have to seek or to share in any relief, monetary or otherwise, relating to any claim
released herein, whether such claim was initiated by them or not.
        In exchange for and in consideration of the covenants and promises contained herein,
Defendants, individually and on behalf of themselves and, if any, their spouse(s), domestic
partner(s), children, agents, assignees, heirs, executors, beneficiaries, legal representatives and
assigns, hereby waives, discharges and releases, the Plaintiffs and their current and former parents,
subsidiaries, divisions, branches, assigns and affiliated and related entities and its or their
respective predecessors, successors, employee benefit plans, and present and former directors,
officers, partners, investors, shareholders, fiduciaries, insurers, owners, employees,
representatives, agents and attorneys, in their individual and representative capacities, and their

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immediate family, heirs, beneficiaries, assigns, and present and/or former fiduciaries,
representatives, agents and attorneys (collectively, the “Plaintiff Releasees”) from any and all
actions, causes of action, obligations, liabilities, claims and demands, which Defendants at any
time have, had, claim or claimed to have had against any of the Plaintiff Releasees including,
without limitation, any and all claims related or in any manner incidental to the Case ,except that
nothing in this Agreement shall operate to preclude Defendants from enforcing, or shall adversely
affect their right or ability to enforce this Agreement.


        4.      Covenant Not to Sue: Plaintiffs agree not to file a lawsuit or commence any other
legal proceeding against the Defendants concerning any matter released in this Agreement. If
any of the Plaintiffs breach the provision of this Paragraph, Defendants will be entitled to seek
recovery of their costs, including their reasonable attorney’s fees, relating to the Defendants’
enforcement of this Agreement and/or defense of such claims. Except to enforce the terms of this
Agreement, Plaintiffs shall not institute, be represented in, participate in, or permit to be submitted
or filed on Plaintiffs’ behalf any claim whatsoever, whether in an individual, class, collective, or
other action, before any administrative agency, court, or other forum or accept any relief or
recovery from or against Defendants concerning claims that Plaintiffs have, had, or may have
against Defendants under the FLSA, NYLL, and NYCRR. In the event any class or collective
action that is brought against Defendants includes or may include Plaintiffs, they shall withdraw
therefrom as soon practicable without obtaining or accepting any relief or recovery upon learning
of Plaintiffs’ inclusion or will be in breach hereof.

        5.      Submission to Court for Approval and Purposes of Dismissing the Action
with Prejudice: Upon execution of this Agreement, the Parties agree to immediately execute the
“Stipulation and Order for Dismissal with Prejudice,” in the form annexed hereto as Exhibit B,
which will be filed with the Court along with the Joint Motion for Approval of the Settlement
Agreement. Court approval and dismissal of this action is a material condition of this Agreement
and the Parties’ obligations hereunder. Failure of the Court to approve this Agreement and the
Parties’ Stipulation and Order for Dismissal with Prejudice renders this Agreement null and void
and no payments shall be made pursuant to Paragraph 1 of the Agreement.

        6.      Taxes and Withholdings: Defendants make no representations regarding the
tax treatment, taxability, and/or non-taxability of the payments referenced in Paragraph 1.
Plaintiffs acknowledge that they have been advised to seek independent legal advice regarding
the tax treatment, taxability, and/or non-taxability of the payments referenced in Paragraph 1 and
have not relied upon any representation of Defendants on that subject. Plaintiffs understand and
agree that they shall be solely and exclusively responsible for the payment of any and all federal,
state and/or local taxes, including any interest and/or penalties assessed thereon, associated with
the payments referenced in Paragraph 1 (or any portion thereof), except for the employer’s portion
of any employer paid tax associated with such payments, including the employer’s share of Social
Security or Medicare tax.

        7.     Bona Fide Dispute: This Agreement is in settlement of disputed claims. The
Parties agree that there is a bona fide dispute as to whether Plaintiffs could prevail on the merits
of their claims in the Action and that the amount being paid to Plaintiffs, as set forth herein, is a
fair and reasonable resolution to this bona fide dispute.

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           8.    No Admission of Liability: Neither this Agreement nor anything contained herein
  constitutes or is intended to constitute any finding of fact, admission of liability or assessment of
  liability by or against any Defendant under any law, ordinance, rule, regulation, policy or order
  with respect to any claim that Plaintiffs have asserted, could have asserted or may assert in
  connection with Plaintiffs’ employment. Defendants have consistently denied, and continue to
  deny, each and every allegation of wrongdoing made by Plaintiffs, and have agreed to enter into
  this Agreement for the sole purpose of avoiding the cost and inconvenience of further litigation.

          9.     Changes to the Agreement: No modifications or amendments to, or waiver or
  termination of, any terms, conditions or provisions of this Agreement may be made or enforced
  unless in writing and signed by all Parties.

          10. No Other Complaints or Charges: Plaintiffs hereby represent that other than the
  Action, they have no pending actions, administrative charges or complaints, grievances or
  arbitrations involving Released Claims against any of the Releasees. Moreover, Plaintiffs are
  currently unaware of any other claims other than those alleged in this lawsuit relating to their
  employment with the Defendants.

         11. Governing Law: This Agreement, and all of its terms, shall be interpreted,
  enforced and governed under the laws of the State of New York, without regards to conflict of
  laws principles.

          12. Jurisdiction: The Parties expressly agree that the United States District Court for
  the Southern District of New York (“SDNY”) shall retain sole and exclusive jurisdiction over any
  action or proceeding to enforce or otherwise arising out of this Agreement.

          13. Assignment of Claims: Plaintiffs hereby represent and warrant that they have not
  assigned or transferred or purported to assign or transfer to anyone any claim, action or cause of
  action based upon, arising out of, or connected in any way with any of the matters released herein.

          14.    Voluntary Agreement: Plaintiffs represent and agree that:

                 (a) they are not suffering from any impairment that would render them incapable
of reading, considering and understanding the terms of this Agreement, and are fully able to read,
consider and understand the terms of this Agreement, all of which have been explained to them;
                 (b)   they have signed this Agreement freely and voluntarily and without duress;
                  (c) no promise or representation of any kind or character, other than those
contained in this Agreement, has been made by any of the Releasees or anyone acting on their behalf
to induce Plaintiffs to enter into this Agreement; and
                 (d) they were advised and hereby are advised to consider carefully the terms of
this Agreement and consult with legal counsel prior to executing it, and have had a reasonable period
of time in which to consider the terms of this Agreement before executing it.

         15. Full and Complete Agreement: This Agreement constitutes the full, complete,
  and entire agreement between the Parties regarding the subject matter hereof, i.e., wage and hour


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claims and fully supersedes any and all prior agreements, negotiations, promises and
understandings between the parties hereto.

        16. Waiver: No provision herein may be waived unless in writing and signed by the
Party or Parties whose rights are thereby waived. Waiver of any one provision, or portion thereof,
shall not be deemed a waiver of any other provision herein. The waiver of any breach of any
provision of this Agreement by any Party shall not be deemed a waiver of any subsequent or prior
breach.

       17. Fair Meaning: The language of all parts of this Agreement shall in all cases be
construed as a whole according to its fair meaning, and not strictly for or against any of the Parties,
regardless of who drafted it.

       18. Counterparts: This Agreement may be signed in counterparts, each of which shall
serve as an original as against any party who signed it, and all of which together shall constitute
one and the same document. An original or copy of a party’s signature on this Agreement shall
be acceptable in any proceeding against that party to enforce this Agreement. This Agreement
may be signed and/or delivered electronically, which shall be as effective as an original document.

       19. Headings: The headings in this Agreement are for the convenience of the Parties
and are not intended to modify any of the terms of this Agreement.

        20. Notices: All notices or communications under this Agreement shall be delivered by
hand, registered mail, certified mail (return receipt requested), or overnight mail to the address of
Defendants’ Counsel or Plaintiffs’ Counsel, respectively, as follows:

       Defendants’ Counsel:
       Michael Taubenfeld
       Fisher Taubenfeld LLP
       225 Broadway, Suite 1700
       New York, NY 10007
       (917) 991-8396
       michael@fishertaubenfeld.com

       Plaintiffs’ Counsel:
       Farrell A. Brody
       Eliseo Cabrera
       TakeRoot Justice
       123 William St., 16th Floor
       New York, NY 10038
       (646) 459-3075
       fbrody@takerootjustice.org
       ecabrera@takerootjustice.org

Either Party may give notice of change of address in writing as set forth in this Paragraph. If
registered or certified mail is used, actual delivery will be deemed to be the date set forth in the
official U.S. Postal Service date stamp on the registered or certified mail receipt.

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       21.     All Defendants by signing below are jointly and severally liable and also jointly
and severally guarantee the payment of the Settlement Payment in accordance with the terms of
this Agreement.

        22.      As security for the Settlement Payment, all Defendants shall execute a Confession
of Judgment in the amount of the Settlement Payment in the form annexed as Exhibit C. In the
event that any of payments required hereunder are not received by Plaintiffs’ counsel on or before
the due date of any payment and Defendants fail to timely cure their late payment in accordance
with Paragraph 1(g) of this Agreement, an accelerated amount 150% of all payments remaining
under this Agreement, giving Defendants credit for any amounts previously paid toward the
Settlement Payment, shall become immediately due and owing. Plaintiffs, at their election, may
choose thereafter to file the Confession of Judgments without further notice, and shall be entitled
to exercise all legal and equitable rights to seek enforcement of this Agreement for any part of the
Settlement Payment remaining due. This amount is not a penalty, but reflects the actual and
statutory damages and costs Plaintiffs believe they could recover at trial To facilitate the
execution of the Agreement, the Individual Defendants shall provide their home addresses to
Plaintiffs upon execution of this Agreement.

       23. Authority to Execute Agreement: The undersigned individuals hereby warrant
and represent that they have the full authority to make the representations and warranties
contained in this Agreement, and to execute and perform this Agreement, on behalf of the
individuals and entities for which or whom they have signed, and that they are acting within the
scope of their authority.




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    November 18, 2021




                   11/18/2021
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                Exhibit A
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I.

                                1099-MISC
                                Liquidated
       FIRST PAYMENT             Damages,         W-2
                                 Statutory       Unpaid
                                 Penalties,      Wages
                               Interest (.75)     (.25)
Arnulfo Trujillo                $15,000.00      $5,000.00

Ramon Rafael Beltran            $3,750.00       $1,250.00

 II.

                                1099-MISC
                                Liquidated
        Second Payment           Damages,         W-2
        (3 Months Later)         Statutory       Unpaid
                                 Penalties,      Wages
                               Interest (.75)     (.25)
Arnulfo Trujillo                 $3,300.00      $1,100.00

Ramon Rafael Beltran             $825.00        $275.00

III.

                                1099-MISC
                                Liquidated
         Third Payment           Damages,         W-2
        (6 Months Later)         Statutory       Unpaid
                                 Penalties,      Wages
                               Interest (.75)     (.25)
Arnulfo Trujillo                 $3,300.00      $1,100.00

Ramon Rafael Beltran             $825.00        $275.00
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IV.

                               1099-MISC
                               Liquidated
       Fourth Payment           Damages,         W-2
       (9 Months Later)         Statutory       Unpaid
                                Penalties,      Wages
                              Interest (.75)     (.25)
Arnulfo Trujillo                $3,300.00      $1,100.00

Ramon Rafael Beltran            $825.00        $275.00

 V.

                               1099-MISC
                               Liquidated
         Fifth Payment          Damages,         W-2
       (12 Months Later)        Statutory       Unpaid
                                Penalties,      Wages
                              Interest (.75)     (.25)
Arnulfo Trujillo                $3,653.44      $1,217.81

Ramon Rafael Beltran            $471.56        $157.19

VI.

                               1099-MISC
                               Liquidated
         Sixth Payment          Damages,        W-2
       (15 Months Later)        Statutory      Unpaid
                                Penalties,     Wages
                              Interest (.75)    (.25)
Arnulfo Trujillo                $1,271.72      $423.91

Ramon Rafael Beltran              $0.00         $0.00

TakeRoot Justice               $3,804.37        $0.00
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VII.

                                 1099-MISC
                                 Liquidated
       Seventh/Final Payment      Damages,        W-2
         (18 Months Later)        Statutory      Unpaid
                                  Penalties,     Wages
                                Interest (.75)    (.25)
Arnulfo Trujillo                    $0.00         $0.00

Ramon Rafael Beltran                $0.00        $0.00

TakeRoot Justice                 $5,500.00       $0.00
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                Exhibit B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
ARNULFO TRUJILLO AND RAMON
RAFAEL BELTRAN,

                       Plaintiffs,                       Case No. 1:21-cv-124 (KPF)

               -against-

EM WINDSOR CONSTRUCTION INC., SEM
CONSTRUCTION INC., ELVIS MURIQ, and
VJOLLCA GJEKA,

                       Defendants.



                STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
       IT IS HEREBY STIPULATED AND AGREED, by and between the parties, and ordered
by the Court, that:
        (a)      the Parties’ settlement of claims under the Fair Labor Standards Act is fair and
reasonable in accordance with Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir.
2015); and
        (b)      the above-captioned action is dismissed with prejudice pursuant to Rule 41(a)(2) of
the Federal Rules of Civil Procedure and without costs, disbursements or attorneys’ fees to any
party, except as provided for in the parties’ settlement agreement; and
        (c)      the Court shall retain jurisdiction of this matter for the sole purposes of enforcing
the parties’ settlement.
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TAKEROOT JUSTICE                     FISHER TAUBENFELD LLP


By: _____________________________    By: _____________________________
   Farrell A. Brody                      Michael Taubenfeld
   123 William St., 16th Floor          225 Broadway, Suite 1700
   New York, NY 10038                   New York, NY 10007
   (646) 459-3075                       (917) 991-8396
   fbrody@takerootjustice.org           michael@fishertaubenfeld.com


           December ___,
   Dated: ________  10 2021              Dated: ________ ___, 2021




SO ORDERED:



________________________
U.S. District Court Judge

____________
Dated
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                Exhibit C
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